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           Scott Cavender

            Tracey Cavender

                                       Western                                             Kentucky
            17-40811




Notice of Mortgage Payment Change



                   U.S. Bank Trust National Association as Trustee of the Lodge Series III Trust                     1


                                                              7 9 3 8                                                      07 01   2019



                                                                                                                            854.01

Part 1:   Escrow Account Payment Adjustment




Part 2:   Mortgage Payment Adjustment




                                                8.50                                                             8.375

                                                                     $594.64                                              589.94


Part 3:   Other Payment Change
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           Scott                    Cavender                                    17-40811


Part 4:   Sign Here




    /s/ Katie L. Greene                                               5   15   2019



             Katie                 L       Greene                    Bankruptcy Asset Manager



             SN Servicing Corporation

             323       Fifth Street
             Eureka                            CA    95501

              800     603   0836                                     BKNOTICES @snsc.com
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1      Michelle R. Ghidotti-Gonsalves, Esq. (SBN 27180)
       GHIDOTTI | BERGER
2      1920 Old Tustin Ave.
3      Santa Ana, CA 92705
       Ph: (949) 427-2010
4      Fax: (949) 427-2732
       mghidotti@ghidottiberger.com
5
       Attorney for Creditor
6
       U.S. Bank Trust National Association as Trustee of the Lodge Series III Trust
7
                            UNITED STATES BANKRUPTCY COURT
8                   WESTERN DISTRICT OF KENTUCKY - OWENSBORO DIVISION

9
       In Re:                                                )   CASE NO.: 17-40811
10                                                           )
       Scott Cavender and Tracey Cavender,                   )   CHAPTER 13
11                                                           )
12              Debtors.                                     )   CERTIFICATE OF SERVICE
                                                             )
13                                                           )
                                                             )
14
                                                             )
15                                                           )
                                                             )
16                                                           )
                                                             )
17
18
                                        CERTIFICATE OF SERVICE
19
20              I am employed in the County of Orange, State of California. I am over the age of
21
       eighteen and not a party to the within action. My business address is: 1920 Old Tustin
22
       Avenue, Santa Ana, CA 92705.
23
24              I am readily familiar with the business’s practice for collection and processing of

25     correspondence for mailing with the United States Postal Service; such correspondence would
26     be deposited with the United States Postal Service the same day of deposit in the ordinary
27
       course of business.
28
       On May 15, 2019 I served the following documents described as:

                       REQUEST FOR SPECIAL NOTICE
                                                        1
                                         CERTIFICATE OF SERVICE
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1
       on the interested parties in this action by placing a true and correct copy thereof in a sealed
2
3      envelope addressed as follows:

4      (Via United States Mail)
       Debtor                                              Debtor’s Counsel
5      Scott Cavender                                      Steven D. Wilson
6      2251 Ponder Place                                   Wilkey & Wilson, P.S.C.
       Owensboro, KY 42301                                 111 West Second Street
7                                                          Owensboro, KY 42303
       Joint Debtor
8
       Tracey Cavender                                     Trustee
9      2251 Ponder Place                                   William W. Lawrence -13
       Owensboro, KY 42301                                 310 Republic Plaza
10                                                         200 S. Seventh Street
       U.S. Trustee                                        Louisville, KY 40202
11
       Charles R. Merrill
12     Asst. U.S.Trustee
       601 West Broadway #512
13     Louisville, KY 40202
14
       _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
15     the United States Postal Service by placing them for collection and mailing on that date
       following ordinary business practices.
16
17     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
       Eastern District of California
18
       __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
19     America that the foregoing is true and correct.
20
              Executed on May 15, 2019 at Santa Ana, California
21
       /s/ Lynette Curtin
22     Lynette Curtin
23
24
25
26
27
28



                                                       2
                                        CERTIFICATE OF SERVICE
